         Case 2:19-cv-00264 Document 25 Filed on 10/25/19 in TXSD Page 1 of 10




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                             CORPUS CHRISTI DIVISION

    FIMBANK PLC                                      §
                                                     §
                             Plaintiff,              §     CIVIL ACTION NO. 2:19-CV-00264
    v.                                               §
                                                     §     ADMIRALTY RULE 9(h)
    DISCOVER INVESTMENT CORP;                        §
    SAM SHIPPING MANAGEMENT                          §
    S.A.; SHIPPING ASSET                             §
    MANAGEMENT (SAM) S.A.; and                       §
    SPV SAM EAGLE INC.                               §
                                                     §
                              Defendants.            §

PLAINTIFF’S MEMORANDUM OF LAW IN OPPOSITION TO DEFENDANT
SPV SAM EAGLE INC.’S MOTION TO DISMISS DATED OCTOBER 4, 2019

          Plaintiff    FIMBANK         PLC     (“Plaintiff”    or   “FIMBANK”)          submits     this

Memorandum of Law in Opposition to Defendant SPV SAM Eagle Inc.’s (“SPV Eagle”)

second Motion to Dismiss filed on October 4, 2019 (Dkt. 19) (the “Second Motion”).

For ease of reference, SPV Eagle filed its first motion to dismiss under Rule 12(b),

Fed. R. Civ. P., on September 26, 2019 (Dkt. 17). The September 26 Motion to Dismiss

argued that plaintiff’s Verified Complaint should be dismissed pursuant to Rules

12(b)(1) and 12(b)(6). The latest, Second Motion now argues that the Verified

Complaint should be dismissed pursuant to Rules 12(b)(2), 12(b)(4), and 12(b)(5) 1.

The Second Motion is procedurally improper and should be denied therefor. In

addition, the underlying arguments for dismissal lack factual and legal foundation

and should be denied.



1
    SPV Eagle presented no argument to support a motion to dismiss under Rules 12(b)(2) and 12(b)(4).

                                                     1
PD.27283353.1
     Case 2:19-cv-00264 Document 25 Filed on 10/25/19 in TXSD Page 2 of 10




        I.      Motion practice under Rule 12 of the Federal Rules of Civil
                Procedure.

        1.      Rule 12 of the Federal Rules of Civil Procedure (“Rule 12”) identifies

procedural and substantive instructions for responding to a complaint.

                A.     Procedural rules related to motions to dismiss.

        2.      Rule 12 allows a defendant to assert certain defenses by motion prior to

the filing of a responsive pleading. However, Rule 12(g)(2) provides that “a party that

makes a motion under this rule must not make another motion under this rule raising

a defense or objection that was available to the party but omitted from its earlier

motion.” FED R. CIV. P. 12(g)(2) If a defendant fails to raise defenses available under

Rule 12(b)(2) – (5) in its initial motion to dismiss, then those defenses are waived:

                (h)   Waiving and Preserving Certain Defenses.

                      (1)    When Some Are Waived. A party waives any defense
                             listed in Rule 12(b)(2)–(5) by:

                             (A)   omitting it from a motion in the
                                   circumstances described in Rule 12(g)(2).

FED R. CIV. P. 12(h).

        3.      The Fifth Circuit squarely addressed this issue in Albany Insurance

Company v. Almacenadora Somex, S.A., 5 F.3d 907 (5th Cir. 1993). In Albany

Insurance, plaintiff sued for breach of contract, fraud and conversion related to the

importation of coffee into the United States. Defendant Somex moved to dismiss for

lack of personal jurisdiction, venue and failure to state a claim upon which relief could

be granted. While its motion was pending, Somex filed an additional motion (styled

as a motion for summary judgment) asking the court to enforce a forum selection


                                            2
PD.27283353.1
     Case 2:19-cv-00264 Document 25 Filed on 10/25/19 in TXSD Page 3 of 10




clause that was never identified in the motion to dismiss. The district court construed

the summary judgment filing as a motion to dismiss and granted it based on the

forum selection clause. Later, additional defendants filed motions to dismiss, but

failed to cite the forum selection clause in their motions. These additional defendants

filed an additional motion to dismiss, asserting the forum selection clause as the basis

for dismissal. The district court enforced the forum selection clause for all parties and

dismissed the case. Plaintiff appealed, “arguing, inter alia, that [defendants] waived

enforcement of the forum clauses by failing to raise them in their first Rule 12

motion.” Id. at 909. The Fifth Circuit agreed with plaintiff and reversed.

                The meaning of subdivision (g) is clear. If a party seeks dismissal
                in a pretrial motion based on any of the defenses set out in Rule
                12(b), he must include in such motion any other defense or
                objection then available which Rule 12 permits to be raised by
                motion. If the party omits such defense or objection, Rule 12(g)
                precludes him from making a further motion seeking dismissal
                based on the omitted defense or objection.

Id.; see also, 5C Charles A. Wright & Arthur R. Miller, Federal Practice and Procedure

§ 1385 (3d ed.) (“The rule generally precludes a second motion based on any Rule 12

defense or objection that the defendant could have but neglected to raise in the

original motion.”).

                B.    Standard of review for Rule 12(b) motions.

        4.      Defendant’s Second Motion seeks dismissal pursuant to Rules 12(b)(2),

12(b)(4) and 12(b)(5). Though defendant has waived the defenses presented in the

Second Motion (as shown above), SPV Eagle has further waived arguments under

Rules 12(b)(2) and 12(b)(4) by failure to include any factual or legal argument in



                                             3
PD.27283353.1
     Case 2:19-cv-00264 Document 25 Filed on 10/25/19 in TXSD Page 4 of 10




support of these defenses. See, e.g., Eagle Air Transport, Inc. v. National Aerotech

Aviation Delaware, Inc., 75 F. Supp.3d 883, 891-892 (N.D. Ill. 2014) (citing Massuda

v. Panda Exp., Inc., 759 F.3d 779, 783 (7th Cir. 2014)) (“[P]erfunctory and

undeveloped arguments, and arguments that are unsupported by pertinent

authority, are waived.”).

                      1.     Motions to dismiss for lack of personal
                             jurisdiction under Rule 12(b)(2).

       5.       “Where a defendant challenges personal jurisdiction, the party seeking

to invoke the power of the court bears the burden of proving that jurisdiction exists.

The plaintiff need not, however, establish jurisdiction by a preponderance of the

evidence; a prima facie showing suffices. This court must resolve all undisputed facts

submitted by the plaintiff, as well as all facts contested in the affidavits, in favor of

jurisdiction.” Luv N’ care, Ltd. v. Insta–Mix, Inc., 438 F.3d 465, 469 (5th Cir. 2006)

(internal citations omitted). Here, since SPV Eagle failed to raise a Rule 12(b)(2)

defense in its motion to dismiss dated September 26 (Dkt. 17), and failed to challenge

personal jurisdiction with any argument in its Second Motion, it has waived this

defense. See FED. R. CIV. P. 12(h)(1)(A); see also Albany Insurance Company, 5 F.3d

at 909.

                      2.     Motions to dismiss for insufficient process
                             under Rule 12(b)(4).

        6.      Motions under Rule 12(b)(4) attack the sufficiency of the process served

on a defendant, “which is usually understood to relate to problems of form such as

mis-naming the party to be served.” See, e.g., Marine Geotechnics, LLC v. Williams,



                                            4
PD.27283353.1
     Case 2:19-cv-00264 Document 25 Filed on 10/25/19 in TXSD Page 5 of 10




2009 WL 2144278 at *2 (S.D. Tex. July 13, 2009). Here, since SPV Eagle failed to

raise a Rule 12(b)(4) defense in its motion to dismiss dated September 26 (Dkt. 17),

and failed to support a Rule 12(b)(4) defense with any argument in its Second Motion,

it has waived this defense. See FED. R. CIV. P.12(h)(1)(A); see also Albany Insurance

Company, 5 F.3d at 909.

                      3.     Motion to dismiss for insufficient service of
                             process under Rule 12(b)(5).

        7.      Motions under Rule 12(b)(5) challenge the adequacy of service of process

on defendant. “As with a challenge to jurisdiction, when service of process is

challenged, the party on whose behalf service is made has the burden of establishing

its validity.” Familia De Boom v. Arosa Mercantil, S.A., 629 F.2d 1134, 1139 (5th Cir.

1980). Here, since SPV Eagle failed to raise a Rule 12(b)(5) defense in its motion to

dismiss dated September 26 (Dkt. 17), it has waived this defense. See FED. R. CIV.

P.12(h)(1)(A); see also Albany Insurance Company, 5 F.3d at 909. In addition, SPV

Eagle’s arguments show that it has received adequate notice under Supplemental

Rule B.

        II.     Statement of facts.

        8.      The underlying dispute is subject to arbitration to be governed by

English law and “claims thereunder are to be pursued in arbitration in London under

LMAA [London Maritime Arbitrators Association] rules” (the “Underlying Dispute”)

(Dkt. 1 at ¶ 25). FIMBANK has in its Complaint, and it continues, to expressly

reserve all rights for the Underlying Dispute to be resolved in arbitration. The

underlying facts are explained in detail in plaintiff’s Memorandum of Law in


                                            5
PD.27283353.1
      Case 2:19-cv-00264 Document 25 Filed on 10/25/19 in TXSD Page 6 of 10




opposition to Defendant SPV Sam Eagle’s Motion to Vacate Attachment and Motion

to Dismiss (Dkt. 21), which is incorporated herein.

        9.      This court issued orders for the U.S. Marshal to attach the vessel SAM

EAGLE, which the U.S. Marshal accomplished on September 16, 2019 (Dkt. 11). The

vessel remains in the custody of the U.S. Marshal. In addition, Plaintiff provided

notice to the named defendants via courier service, as acknowledged by SPV Eagle in

the Second Motion: “Plaintiff also sent a copy of the Verified Complaint and the Order

for Writ of Attachment and other pleading to the Defendants via UPS.” (Dkt. 19, p.

2).

        III.    Plaintiff satisfied the notice requirements for proceedings
                under Supplemental Rule B.

        10.     As Plaintiff provided in its Verified Complaint, the purpose of this action

is “to obtain quasi in rem jurisdiction over Defendants, and security for the

enforcement of any resulting awards and/or judgments which it may obtain against

any of the Defendants.” (Dkt. 1, ¶ 58).

                There is a third category of claims sometimes known as actions
                quasi in rem. Supplemental Admiralty Rule E. These are actions
                based on a claim for money begun by attachment or other seizure
                of property when the court has no jurisdiction over the person of
                the defendant, but has jurisdiction over a thing belonging to him
                or over a person who is indebted to, or owes a duty to the
                defendant.

Belcher Co. of Alabama, Inc. v. M/V Maratha Mariner, 724 F.2d 1161, 1163-65 (5th

Cir. 1984).

                Attachment issues “with respect to any admiralty or maritime
                claim in personam” and its purpose is to “attach the defendant’s
                goods and chattels” or other assets if the defendant shall not be


                                              6
PD.27283353.1
     Case 2:19-cv-00264 Document 25 Filed on 10/25/19 in TXSD Page 7 of 10




                found in the jurisdiction. Rule B. Attachment may be used for any
                debt.

Id. at 1164. Here, Plaintiff has attached assets, and more specifically the subject

vessel, and therefore obtained jurisdiction to support its claim.

        11.     The sum and substance of SPV Eagle’s argument is that it did not

receive service of process pursuant to Rule 4, Fed. R. Civ. P. This argument has no

relevance. SPV Eagle acknowledges the precise notice required under Supplemental

Rule B(2) for defendants in maritime garnishment proceedings. As identified by SPV

Eagle (Dkt. 19, p. 7), Supplemental Rule B provides as follows:

                Rule B. In Personam Actions: Attachment and Garnishment
                                             ***
                (2) Notice to Defendant. No default judgment may be entered
                except upon proof—which may be by affidavit—that:

                   (a) the complaint, summons, and process of attachment or
                   garnishment have been served on the defendant in a manner
                   authorized by Rule 4;

                   (b) the plaintiff or the garnishee has mailed to the
                   defendant the complaint, summons, and process of
                   attachment or garnishment, using any form of mail
                   requiring a return receipt; or

                   (c) the plaintiff or the garnishee has tried diligently to give
                   notice of the action to the defendant but could not do so.

FED. R. CIV. P. SUPP. B (emphasis added). As Wright & Miller noted:

                The rationale for requiring notice as a condition to a default
                judgment was stated as follows by the Advisory Committee:

                   The former Admiralty Rules did not provide for notice to the
                   defendant in attachment and garnishment proceedings. None
                   is required by the principles of due process, since it is assumed
                   that the garnishee or custodian of the property attached will
                   either notify the defendant or be deprived of the right to plead


                                             7
PD.27283353.1
     Case 2:19-cv-00264 Document 25 Filed on 10/25/19 in TXSD Page 8 of 10




                  the judgment as a defense in an action against him by the
                  defendant. Harris v. Balk, 198 U.S. 215 (1905); Pennoyer v.
                  Neff, 95 U.S. 714 (1878). Modern conceptions of fairness,
                  however, dictate that actual notice be given to persons known
                  to claim an interest in the property that is the subject of the
                  action where that is reasonably practicable. In attachment
                  and garnishment proceedings the persons whose interests will
                  be affected by the judgment are identified by the complaint.
                  No substantial burden is imposed on the plaintiff by a simple
                  requirement that he notify the defendant of the action by mail.

12 Charles A. Wright & Arthur R. Miller, Federal Practice and Procedure § 3212 (3d

ed.). In the Second Motion, SPV Eagle admits Plaintiff’s compliance with this

provision: “Plaintiff also sent a copy of the Verified Complaint and the Order for Writ

of Attachment and other pleading to the Defendants via UPS.” (Dkt. 19, p. 2).

        IV.     Conclusion and Prayer.

        12.     SPV Eagle’s Second Motion is procedurally improper and legally

insufficient. SPV Eagle waived the defenses presented under Rules 12(b)(2), 12(b)(4)

and 12(b)(5) by failing to include these arguments in their motion to dismiss filed on

September 26, 2019. In addition, the motion to dismiss is also improper, as plaintiff

fully satisfied the requirements for notice under Supplemental Rule B(2)(b). SPV

Eagle’s Second Motion should be denied.

        WHEREFORE        PREMISES      CONSIDERED,        Plaintiff   FIMBANK       PLC.

respectfully prays that the Court deny Defendant SPV SAM Eagle Inc.’s (“SPV

Eagle”) second Motion to Dismiss filed on October 4, 2019 (Dkt. 19), and that

FIMBANK PLC have all further relief to which it may be entitled.




                                            8
PD.27283353.1
     Case 2:19-cv-00264 Document 25 Filed on 10/25/19 in TXSD Page 9 of 10




                                           Respectfully submitted,


                                           /s/ Edward W. Floyd

                                           Edward W. Floyd
                                           Luke F. Zadkovich
                                           Floyd Zadkovich (US) LLP
                                           ed.floyd@floydzad.com
                                           luke.zadkovich@floydzad.com
                                           Telephone: (917) 999 - 6914
                                           215 Park Ave South, 11th Floor
                                           New York, New York 10003

                                           PRO HAC VICE COUNSEL FOR
                                           PLAINTIFF, FIMBANK PLC


  Ivan M. Rodriguez
  Texas Bar No. 24058977
  Fed ID. 4566982
  ivan.rodriguez@phelps.com
  Andrew R. Nash
  Texas Bar No. 24083550
  Fed ID: 1690806
  andy.nash@phelps.com
  Phelps Dunbar LLP
  500 Dallas Street, Suite 1300
  Houston, Texas 77002
  Telephone: (713) 626-1386
  Telecopier: (713) 626-1388

 LOCAL COUNSEL FOR PLAINTIFF,
 FIMBANK PLC




                                       9
PD.27283353.1
    Case 2:19-cv-00264 Document 25 Filed on 10/25/19 in TXSD Page 10 of 10




                          CERTIFICATE OF SERVICE

       I hereby certify that on October 25, 2019, I electronically filed the foregoing
with the Clerk of Court using the CM/ECF system. A true and correct copy of the
foregoing instrument had been served upon all known counsel of records as listed
below, via the Court’s ECF notification system.

Michael J. Wray
Thomas R. Nork
Christopher Hart
HOLMAN FENWICK WILLAN USA LLP
5151 San Felipe, Suite 400
Houston, Texas 77056
Michael.wray@hfw.com
Tom.nork@hfw.com
Chris.hart@hfw.com
ATTORNEYS FOR
SPV SAM EAGLE INC.

                                       /s/ Edward W. Floyd
                                       Of Floyd Zadkovich (US) LLP




                                         10
PD.27283353.1
